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 15
 16                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA
 17
      ViaSat, Inc.,                                                Case No. 3:16-cv-00463-BEN-JMA
 18   a Delaware corporation,
 19                                                                ACACIA COMMUNICATIONS,
                        Plaintiff                                  INC.’S MOTION TO FILE UNDER
 20                     and Counter Defendant,                     SEAL DOCUMENTS ASSOCIATED
 21   v.                                                           WITH ITS MOTION TO STRIKE
                                                                   AND EXCLUDE CERTAIN
 22   Acacia Communications, Inc.,                                 OPINIONS OF VIASAT’S EXPERTS
      a Delaware corporation,
 23
                                                                   Judge: Hon. Roger T. Benitez
 24                     Defendant                                  Mag. Judge: Hon. Jan M. Adler
                        and Counter Claimant
 25
                                                                   Date: March 12, 2018
 26                                                                Time: 10:30 a.m.
 27                                                                Courtroom: 5A

 28

      Acacia Communications, Inc.’s Motion To File Under Seal Documents           Case No. 3:16-CV-00463-BEN-JMA
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  1            Under Federal Rule of Civil Procedure 26(c), Local Rule 79.2(c), ECF
  2   Administrative Policies and Procedures 2(j), the Stipulated Protective Order § 1 (Dkt.
  3   No. 29), and Magistrate Judge Adler’s Chamber Rules at 3, defendant and counter
  4   claimant Acacia Communications, Inc. (“Acacia”) submits this motion to file under
  5   seal portions of the Memorandum of Points and Authorities in Support of Acacia
  6   Communication, Inc.’s Motion to Strike and Exclude Certain Opinions of ViaSat’s
  7   Experts (“Acacia’s Memorandum”) and certain of the exhibits attached to the Third
  8   Declaration of Stuart V. C. Duncan Smith in support of that motion.
  9                                                    ARGUMENT
 10            Certain limited portions of Acacia’s Memorandum and certain of the exhibits
 11   attached to the Third Declaration of Stuart V. C. Duncan Smith in support of that
 12   motion contain confidential information that one or both of the parties have
 13   designated as Confidential or Highly Confidential – Attorneys’ Eyes Only under the
 14   Stipulated Protective Order (Dkt. No. 29), disclosure of which would harm the
 15   competitive standing of the parties and could be used to the parties’ competitive
 16   disadvantage outside of this case.
 17            Acacia seeks to seal the following documents:
 18            a. Portions of Acacia’s Memorandum, which contains information that ViaSat
 19                and Acacia have designated as Highly Confidential – Attorneys’ Eyes Only.
 20                These portions contain confidential technical and business information of
 21                both ViaSat and Acacia regarding the parties’ alleged trade secrets and
 22                accused products.
 23            b. Exhibit 2 attached thereto, which is a copy of the Expert Report of Stephen
 24                D. Prowse, Ph.D., CFA, dated October 27, 2017, with Corrected
 25                Designation dated October 30, 2017, and contains information that ViaSat
 26                has designated as Highly Confidential – Attorneys’ Eyes Only and
 27                information that is Third Party Highly Confidential. Exhibit 2 contains
 28                confidential business and financial information from both parties regarding

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  1                product sales, royalty and other payments, and the value of the technology
  2                and products at issue in this case. It also cites to confidential documents
  3                produced by third parties in the course of this litigation.
  4            c. Exhibit 14 attached thereto, which is a copy of the Rebuttal Report of
  5                Professor Ivan Djordjevic, Ph.D., dated November 21, 2017, and contains
  6                information that ViaSat has designated as Highly Confidential – Attorneys’
  7                Eyes Only. Exhibit 14 contains discussion of Acacia’s alleged trade secrets
  8                and ViaSat’s accused products as well as technical information that ViaSat
  9                has identified as confidential.
 10            d. Exhibit 15 attached thereto, which is a copy of the Expert Report of Dr.
 11                Alexander Vardy, dated November 21, 2017, and contains information that
 12                Acacia has designated as Highly Confidential – Attorneys’ Eyes Only.
 13                Exhibit 15 contains discussion of ViaSat’s alleged trade secrets and Acacia’s
 14                accused products as well as technical information that Acacia has identified
 15                as confidential.
 16            e. Exhibit 16 attached thereto, which is a copy of the Opening Expert Report
 17                of Professor Krishna Narayanan, Ph.D., dated October 27, 2017, and
 18                contains information that ViaSat has designated as Highly Confidential –
 19                Attorneys’ Eyes Only. Exhibit 16 contains discussion of ViaSat’s alleged
 20                trade secrets and Acacia’s accused products as well as technical information
 21                that ViaSat has identified as confidential.
 22            f. Exhibit 42 attached thereto, which is a copy of the Rebuttal Expert Report
 23                of Stephen D. Prowse, Ph.D., CFA, dated November 21, 2017, and contains
 24                information that ViaSat has designated as Highly Confidential – Attorneys’
 25                Eyes Only. Exhibit 42 contains discussion of Acacia’s alleged trade secrets
 26                and ViaSat’s accused products as well as technical and business information
 27                that ViaSat has identified as confidential.
 28

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  1            g. Exhibit 43 attached thereto, which is a copy of excerpts of the condensed
  2                transcript of the December 8, 2017 deposition of Dr. Krishna Narayanan,
  3                and contains information that ViaSat has designated as Highly Confidential –
  4                Attorneys’ Eyes Only. Exhibit 43 contains discussion of ViaSat’s alleged
  5                trade secrets and Acacia’s accused products as well as technical information
  6                that ViaSat and Acacia have identified as confidential.
  7            h. Exhibit 44 attached thereto, which is a copy of excerpts of the condensed
  8                transcript of the December 12, 2017 deposition of Ivan Djordjevic, Ph.D.,
  9                and contains information that ViaSat has designated as Highly Confidential –
 10                Attorneys’ Eyes Only. Exhibit 44 contains discussion of Acacia’s alleged
 11                trade secrets and ViaSat’s accused products as well as technical information
 12                from both parties that ViaSat has identified as confidential.
 13            i. Exhibit 45 attached thereto, which is a copy of excerpts of the condensed
 14                transcript of the July 26, 2017 deposition of Russell Fuerst, and contains
 15                information that ViaSat has designated as Highly Confidential – Attorneys’
 16                Eyes Only. Exhibit 45 contains discussion of ViaSat’s alleged trade secrets
 17                as well as business and financial information that ViaSat has identified as
 18                confidential.
 19            j. Exhibit 46 attached thereto, which is a copy of Acacia’s Trade Secret
 20                Identification, dated January 21, 2016, and contains information that Acacia
 21                has designated as Highly Confidential – Attorneys’ Eyes Only. Exhibit 46
 22                contains discussion of Acacia’s alleged trade secrets which constitute
 23                technical information that Acacia has identified as confidential.
 24            k. Exhibit 47 attached thereto, which is a copy of excerpts of the condensed
 25                transcript of the November 30, 2017 deposition of Stephen D. Prowse,
 26                Ph.D., CFA, and contains information that ViaSat has designated as Highly
 27                Confidential – Attorneys’ Eyes Only. Exhibit 47 contains discussion of
 28                ViaSat’s and Acacia’s alleged trade secrets and ViaSat’s and Acacia’s accused

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  1                products and their design, as well as technical and business information that
  2                ViaSat has identified as confidential.
  3            l. Exhibit 48 attached thereto, which is a copy of the Supplemental Report of
  4                Professor Krishna Narayanan, Ph.D., dated November 8, 2017, and contains
  5                information that ViaSat has designated as Highly Confidential – Attorneys’
  6                Eyes Only. Exhibit 48 contains discussion of ViaSat’s alleged trade secrets
  7                and Acacia’s accused products as well as technical information that ViaSat
  8                and Acacia have identified as confidential.
  9            m. Exhibit 49 attached thereto, which is a copy of an Acacia presentation
 10                entitled “AC400 Project Review,” and contains information that Acacia has
 11                designated as Highly Confidential – Attorneys’ Eyes Only. Exhibit 49
 12                contains technical descriptions of Acacia’s accused products and related
 13                technology as well as technical and business information that Acacia has
 14                identified as confidential.
 15            Acacia will electronically file a public version of Acacia’s Memorandum with the
 16   confidential information redacted. Therefore, this request is narrowly tailored to
 17   protect only the information that is confidential.
 18            While the public generally enjoys the right of access to court records, the
 19   public’s right to access to court records “is not absolute,” and documents are properly
 20   filed under seal where disclosure would harm a party by forcing it to disclose trade
 21   secrets or other valuable confidential proprietary business information. See, e.g., Nixon
 22   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); In re Elec. Arts, Inc., 298 F. App’x
 23   568, 569-70 (9th Cir. 2008).
 24            “Where a party shows that its documents contain sources of business
 25   information that might harm its competitive standing, the need for public access to the
 26   records is lessened.” Algarin v. Maybelline, LLC, No. 12-3000, 2014 WL690410, at *3
 27   (S.D. Cal. Feb. 21, 2014). Courts must ensure that their records are not used “as
 28   sources of business information that might harm a litigant’s competitive standing.”

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  1   Nixon, 435 U.S. at 598; see also Bauer Bros. LLC v. Nike, Inc., No. 09500, 2012
  2   WL1899838, at *3-4 (S.D. Cal. May 24, 2012) (granting motion to seal non-public
  3   financial data); Davis v. Soc. Serv. Coordinators, Inc., No. 10-023 72, 2012 WL 1940677, at
  4   *3 (E.D. Cal. May 29, 2012) (noting that “[g]ood cause to seal is generally found where
  5   the disclosure of proprietary information could cause a party competitive injury”).
  6            Good cause to file under seal exists because the information Acacia seeks to seal
  7   has been identified as confidential by Acacia, ViaSat, and third parties. Publicly filing
  8   the information would prejudice Acacia, ViaSat, and third parties by revealing technical
  9   and financial information that could be used for competitive advantage outside of this
 10   case. Therefore, there is good cause to seal this information.
 11                                                  CONCLUSION
 12            For the foregoing reasons, Acacia respectfully requests that the Court seal the
 13   portions of Acacia’s Memorandum and the documents listed above. A Proposed
 14   Order will be emailed to efile_benitez@casd.uscourts.gov and
 15   efile_adler@casd.uscourts.gov.
 16
 17   Dated: February 1, 2018                                       Respectfully Submitted,
 18
                                                                    WOLF, GREENFIELD & SACKS, P.C.
 19
                                                                    By: s/Michael A. Albert
 20
                                                                    Michael A. Albert
 21                                                                 Hunter D. Keeton
                                                                    Stuart V. C. Duncan Smith
 22
 23                                                                 Attorneys for Defendant and Counter
                                                                    Claimant Acacia Communications, Inc.
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  1                                       CERTIFICATE OF SERVICE
  2
             I certify that today I caused to be served the foregoing document by CM/ECF
  3   notice of electronic filing upon the parties and counsel registered as CM/ECF Users.
      I further certify that am causing the foregoing document to be served by electronic
  4   means via email upon counsel for ViaSat, Inc., per the agreement of counsel.
  5
  6   Date: February 1, 2018                                          s/Michael A. Albert
  7                                                                   Michael A. Albert
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